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ABET U.S. Department of Justice |

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XN ' Drug Enforcement Administration
Kt DEA North Central Laboratory
“emt 536 South Clark Street
Room 800

Chicago, IL 60605

www.dea.gov

TO: James R.W. Braun
Assistance U.S. Attorney

FROM: “A aato7

Camala L. Dubach
Senior Forensic Chemist
DEA North Central Laboratory

APPROVED:
Patricia A. Brown OF- HE ROO P
Laboratory Director
DEA North Central Laboratory

SUBJECT: RULE 16(a)(1)(E) SUMMARY OF TESTIMONY IN
UNITED STATES v. Gregory Hill .

USDC Case No. CR-05-1849 JH

DEA Case No. J2-05-0010

DATE: January 22, 2007

The following summary of testimony is provided as required by Federal Rule of Criminal Procedure

16(a)(I)(E):
1. My name is Camala L, Dubach

2. Iam employed by the Department of Justice, Drug Enforcement Administration (DEA), in the
capacity of Senior Forensic Chemist, and was so employed when I conducted the examinations and
analyses described below. My qualifications to interpret the results described below are based on,

my knowledge, skill, experience, training and education. My experience, education, and training
are described in detail in Attachment A.

3, The opinions described below are based on chemical, physical, and instrumental analyses, the
results generated by those analyses, and my interpretation of those results.

4, | examined and analyzed the substance(s) contained in the exhibit, which was submitted for
analysis in the above referenced case.

EXHIBIT

GOVERNMENT

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SUBJECT: RULE 16(a)(1)(E) SUMMARY OF TESTIMONY IN Page 2 of 2
UNITED STATES v. Gregory Hill
District of New Mexico Case Number CR-05-1849 JH

DEA Case No. [2-05-0010

5. In my opinion, the substance referred to herein as DEA Case No. 12-05-0010, Exhibit # 6,
DEA NCL Lab No. 166345 has been identified as follows:

a, Active drug ingredient: Cocaine Hydrochloride
b. Quantitative Result: 33%
c. Net Weight: 25.2 grams

6. The above opinion is based on the following physical, chemical, and instrumental] analyses:

i. Gas Chromatography/mass spectrometry (GC/MS)
ii. Gas Chromatography (GC)
u. Infrared spectrophotometry (IR)
